Case 5:23-cv-05118-TLB Document 106        Filed 11/01/23 Page 1 of 5 PageID #: 2565




                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF ARKANSAS
                       FAYETTEVILLE DIVISION

ALEXIS LEAH FREEMAN GIBSON as                 Case No. 5:23cv5118-TLB
Ancillary Personal Representative of the
ESTATE OF WYATT GARY GIBSON,
Deceased and ALL WRONGFUL
DEATH BENEFICIARIES,                          Complaint Filed: July 12, 2023
                         Plaintiffs,
       vs.
CONSUMER TESTING
LABORATORIES, INC., UL
VERIFICATION SERVICES, INC.,
EARTHBOUND LICENSING, LLC,
EARTHBOUND, LLC, EARTHBOUND
PW LLC, ROBERT BURGESS d/b/a
BURGESS GROUP a/k/a BOB
BURGESS AND ASSOCIATES,
MELISSA METCALFE, MANE USA,
INC., GALA NORTH AMERICA, INC.,
and JOHN DOES 1-10,
                         Defendants.

   PLAINTIFFS’ MOTION FOR LEAVE TO FILE SUR-REPLY TO
GALA NORTH AMERICA INC.’S MOTION TO DISMISS AND MOTION
    TO STRIKE PLAINTIFFS’ FIRST AMENDED COMPLAINT

      COME NOW ALEXIS LEAH FREEMAN GIBSON as Ancillary Personal

Representative of the ESTATE OF WYATT GARY GIBSON, Deceased and ALL

WRONGFUL DEATH BENEFICIARIES (“Plaintiffs”), by and through

undersigned counsel, and for its Motion for Leave state as follows:

      1.     On September 5, 2023, Gala North America Inc. (“Gala”) filed its

Motion to Dismiss and Motion to Strike Plaintiffs’ First Amended Complaint

(“Motion to Dismiss”) (Docs. 65-66).



                                        [1]
Case 5:23-cv-05118-TLB Document 106         Filed 11/01/23 Page 2 of 5 PageID #: 2566




      2.     On September 19, 2023, Plaintiffs filed their Opposition to Gala’s

Motion to Dismiss (Doc. 78).

      3.     On September 28, the Court granted Gala leave to file a Reply in

support of its Motion to Dismiss, and Gala filed its Reply and a supporting

declaration from its corporate representative (Docs. 89, 90).

      4.     At the September 28 Case Management Hearing, the Court heard

argument on Gala’s Motion to Dismiss and instructed all parties to confer on an

agreed transfer of this action to the Central District of California.

      5.     On October 30, the parties filed their Joint Status Report regarding the

parties’ positions on a potential transfer to the Central District of California pursuant

to the Court’s October 3, 2023 text order (Docs. 94, 105).

      6.     As of the date of this Motion for Leave, less than all parties have

consented to transfer of this action to the Central District of California, and Gala’s

Motion to Dismiss remains pending.

      7.     Plaintiffs now respectfully request leave to file a sur-reply in order to

provide the Court with additional evidence which will assist the Court in resolving

the issues raised in the briefing on Gala’s Motion to Dismiss. That evidence includes

a contract produced by Defendant Robert Burgess d/b/a Burgess Group a/k/a Bob

Burgess and Associates (“Burgess Group”) on October 16, 2023 as part of Burgess

Group’s Supplemental Initial Disclosures. That evidence also includes emails and


                                           [2]
Case 5:23-cv-05118-TLB Document 106         Filed 11/01/23 Page 3 of 5 PageID #: 2567




documents that were designated “confidential” when produced by non-parties Flora

Classique, Inc. (“Flora”) and Walmart Inc. (“Walmart”) in the related California

action, and which are therefore protected from disclosure to this Court under the

California protective order.1 Plaintiffs have conferred with Flora and Walmart, and

Flora (on October 12, 2023) and Walmart (on October 16, 2023) consented to the

filing of those emails and documents in this Court under seal to the extent the Court

permits Plaintiffs to file their proposed sur-reply.

      8.     The filing of a sur-reply will not unnecessarily delay proceedings in this

action and will assist the Court in resolving the issues raised in the briefing by

allowing the Court to consider the evidence described above.

      9.     Plaintiffs’ proposed Sur-Reply is attached hereto as Exhibit A.

      10.    Should the Court grant this Motion for Leave, Plaintiffs will separately

file their proposed Sur-Reply and the evidence described above as exhibits thereto.

      WHEREFORE, for the reasons set forth above, Plaintiffs respectfully request

leave to file the Sur-Reply attached hereto as Exhibit A, together with the evidence

described above, and any other proper relief.

                            [signature on following page]

1
  Under the California protective order, “[a] Receiving Party may use Protected
Material that is disclosed or produced by another Party or by a Non-Party in
connection with th[e California] Action only for prosecuting, defending, or
attempting to settle th[e California] Action.” Gibson v. Walmart Inc., et al., No. 5:22-
cv-00238, Doc. 68 at ¶ 7.1 (C.D. Cal. Jan. 20, 2023) (attached hereto as Exhibit B).

                                           [3]
Case 5:23-cv-05118-TLB Document 106     Filed 11/01/23 Page 4 of 5 PageID #: 2568




Dated: November 1, 2023               /s/ M. Alan Holcomb
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                                      Attorneys for Plaintiffs




                                       [4]
Case 5:23-cv-05118-TLB Document 106        Filed 11/01/23 Page 5 of 5 PageID #: 2569




                          CERTIFICATE OF SERVICE

      I, M. Alan Holcomb, certify and declare as follows:

      1.     I am over the age of 18 and not a party to this action.

      2.     My business address is 945 East Paces Ferry Rd NE, Atlanta, GA

30326.

      3.     On November 1, 2023, I electronically filed the PLAINTIFFS’

MOTION FOR LEAVE TO FILE SUR-REPLY TO GALA NORTH

AMERICA INC.’S MOTION TO DISMISS AND MOTION TO STRIKE

PLAINTIFFS’ FIRST AMENDED COMPLAINT with the Clerk of the Court for

the United States District Court for the Western District of Arkansas by using the

Court’s CM/ECF System.

      4.     Participants in this case who are registered CM/ECF users will be

served by the Court’s CM/ECF system.

      I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

      This 1st day of November, 2023.


                                        /s/ M. Alan Holcomb
                                        M. Alan Holcomb




                                         [5]
